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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 12-61096



 PATRICK A. NEPTUNE,

        Plaintiff,

 vs.

 CITY OF PLANTATION, LARRY MASSEY
 and TODD SMITH,

       Defendants.
 _____________________________/

                                   NOTICE OF REMOVAL

        Defendants, CITY OF PLANTATION, LARRY MASSEY and TODD SMITH, by

 and through their undersigned attorneys, and pursuant to 28 U.S.C. §1446, remove this action

 from the 17th Judicial Circuit in and for Broward County, State of Florida, and as grounds

 therefor state:

        1.         Plaintiff alleges in Count V and VI of the Complaint, claims for alleged

 violations of his federal constitutional rights (4th and 14th Amendment claims) through 42

 U.S.C. §1983.

        2.         Pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3), this Court has original

 jurisdiction over this action, as this action presents a "federal question" and seeks to redress

 the alleged deprivation of the Plaintiff’s civil rights.
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        3.     Pursuant to 28 U.S.C. §1441(a) and (b) and §1443, this action is removable to

 this Court.

        4.     A copy of the only pleading filed in this case is attached as Exhibit "A" to the

 Notice of Removal in accordance with 28 U.S.C. §1446(a).

                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

 via US Mail this 5th day of June, 2012 to: Pro Se, Patrick Neptune, PO Box 825471, Pembroke

 Pines, FL 33082.

                                                   JOHNSON, ANSELMO, MURDOCH,
                                                   BURKE, PIPER & HOCHMAN, PA
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                                                   By:     /s/ Scott D. Alexander
                                                          E. BRUCE JOHNSON
                                                          FLA. BAR NO. 262137
                                                          SCOTT D. ALEXANDER
                                                          FLA. BAR NO. 05707
